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 OJS 44 (Rev. 12/07)                                                    CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

  I. (a) PLAINTIFFS                                                                                       DEFENDANTS
Idaho Republican Party, its Executive Committee, its State Central                                         Ben Ysursa, in his official capacity as the Secretary of State of
Committee, and Chairman, J. Kirk Sullivan                                                                  the State of Idaho
     (b) County of Residence of First Listed Plaintiff Ada                                                County of Residence of First Listed Defendant Ada
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                         LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

J.E. Sutton & Associates 200 N. Third Suite 4, Boise, Idaho 83702
Phone: (208) 336-4444
  II. BASIS OF JURISDICTION (Place an “X” in One Box Only)   III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                         and One Box for Defendant)
 ’ 1    U.S. Government             ’ 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
          Plaintiff                       (U.S. Government Not a Party)                           Citizen of This State         ’ 1         ’ 1      Incorporated or Principal Place      ’ 4     ’ 4
                                                                                                                                                     of Business In This State

 ’ 2    U.S. Government             ’ 4 Diversity                                                 Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place     ’ 5      ’ 5
          Defendant                                                                                                                                     of Business In Another State
                                             (Indicate Citizenship of Parties in Item III)
                                                                                                  Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                    Foreign Country
 IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                          TORTS                                   FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 ’ 110 Insurance                   PERSONAL INJURY                   PERSONAL INJURY              ’ 610 Agriculture                   ’ 422 Appeal 28 USC 158           ’   400 State Reapportionment
 ’ 120 Marine                     ’ 310 Airplane                  ’ 362 Personal Injury -         ’ 620 Other Food & Drug             ’ 423 Withdrawal                  ’   410 Antitrust
 ’ 130 Miller Act                 ’ 315 Airplane Product                Med. Malpractice          ’ 625 Drug Related Seizure                28 USC 157                  ’   430 Banks and Banking
 ’ 140 Negotiable Instrument            Liability                 ’ 365 Personal Injury -               of Property 21 USC 881                                          ’   450 Commerce
 ’ 150 Recovery of Overpayment ’ 320 Assault, Libel &                   Product Liability         ’ 630 Liquor Laws                     PROPERTY RIGHTS                 ’   460 Deportation
      & Enforcement of Judgment         Slander                   ’ 368 Asbestos Personal         ’ 640 R.R. & Truck                  ’ 820 Copyrights                  ’   470 Racketeer Influenced and
 ’ 151 Medicare Act               ’ 330 Federal Employers’              Injury Product            ’ 650 Airline Regs.                 ’ 830 Patent                              Corrupt Organizations
 ’ 152 Recovery of Defaulted            Liability                       Liability                 ’ 660 Occupational                  ’ 840 Trademark                   ’   480 Consumer Credit
       Student Loans              ’ 340 Marine                     PERSONAL PROPERTY                    Safety/Health                                                   ’   490 Cable/Sat TV
       (Excl. Veterans)           ’ 345 Marine Product            ’ 370 Other Fraud               ’ 690 Other                                                           ’   810 Selective Service
 ’ 153 Recovery of Overpayment          Liability                 ’ 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 ’   850 Securities/Commodities/
       of Veteran’s Benefits      ’ 350 Motor Vehicle             ’ 380 Other Personal            ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                        Exchange
 ’ 160 Stockholders’ Suits        ’ 355 Motor Vehicle                   Property Damage                 Act                           ’ 862 Black Lung (923)            ’   875 Customer Challenge
 ’ 190 Other Contract                   Product Liability         ’ 385 Property Damage           ’ 720 Labor/Mgmt. Relations         ’ 863 DIWC/DIWW (405(g))                  12 USC 3410
 ’ 195 Contract Product Liability ’ 360 Other Personal                  Product Liability         ’ 730 Labor/Mgmt.Reporting          ’ 864 SSID Title XVI              ’   890 Other Statutory Actions
 ’ 196 Franchise                        Injury                                                         & Disclosure Act               ’ 865 RSI (405(g))                ’   891 Agricultural Acts
      REAL PROPERTY                  CIVIL RIGHTS                  PRISONER PETITIONS             ’ 740 Railway Labor Act               FEDERAL TAX SUITS               ’   892 Economic Stabilization Act
 ’ 210 Land Condemnation          ’ 441 Voting                    ’ 510 Motions to Vacate         ’ 790 Other Labor Litigation        ’ 870 Taxes (U.S. Plaintiff       ’   893 Environmental Matters
 ’ 220 Foreclosure                ’ 442 Employment                      Sentence                  ’ 791 Empl. Ret. Inc.                      or Defendant)              ’   894 Energy Allocation Act
 ’ 230 Rent Lease & Ejectment     ’ 443 Housing/                     Habeas Corpus:                     Security Act                  ’ 871 IRS—Third Party             ’   895 Freedom of Information
 ’ 240 Torts to Land                   Accommodations             ’ 530 General                                                             26 USC 7609                         Act
 ’ 245 Tort Product Liability     ’ 444 Welfare                   ’ 535 Death Penalty                   IMMIGRATION                                                     ’   900Appeal of Fee Determination
 ’ 290 All Other Real Property    ’ 445 Amer. w/Disabilities -    ’ 540 Mandamus & Other          ’ 462 Naturalization Application                                              Under Equal Access
                                       Employment                 ’ 550 Civil Rights              ’ 463 Habeas Corpus -                                                         to Justice
                                  ’ 446 Amer. w/Disabilities -    ’ 555 Prison Condition               Alien Detainee                                                   ’   950 Constitutionality of
                                       Other                                                      ’ 465 Other Immigration                                                       State Statutes
                                  ’ 440 Other Civil Rights                                             Actions




 V. ORIGIN                (Place an “X” in One Box Only)                                                                                                                                Appeal to District
 ’ 1 Original          ’ 2 Removed from                ’ 3 Remanded from                     ’ 4 Reinstated or ’ 5 Transferred  from
                                                                                                                   another district  ’ 6 Multidistrict                        ’ 7 Judge from
                                                                                                                                                                                  Magistrate
     Proceeding               State Court                     Appellate Court                    Reopened                                Litigation
                                                                                                                 (specify)                                                              Judgment
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                        42 US 1983
 VI. CAUSE OF ACTION Brief description of cause:
                       Injunctive Relief to maintain closed primaries in Idaho
 VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION       DEMAND $                                                                           CHECK YES only if demanded in complaint:
      COMPLAINT:           UNDER F.R.C.P. 23                                                                                                      JURY DEMAND:         ’ Yes     ✔
                                                                                                                                                                                 ’ No
 VIII. RELATED CASE(S)
                         (See instructions):
       IF ANY                                JUDGE                                                                                        DOCKET NUMBER

 DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD


 FOR OFFICE USE ONLY

   RECEIPT #                   AMOUNT                                    APPLYING IFP                                       JUDGE                           MAG. JUDGE



                 Print                             Save As...                            Export as FDF                         Retrieve FDF File                                Reset
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                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
